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 1                             UNITED STATES DISTRICT COURT
 2                          SOUTHERN DISTRICT OF CALIFORNIA
 3    PERSIAN GULF INC.,                                  Case No.: 15-cv-1749-L-AGS
 4                                       Plaintiff,       NOTICE AND ORDER: (1) FOR
      v.                                                  EARLY NEUTRAL EVALUATION
 5
                                                          AND (2) SETTING RULE 26
 6    BP WEST COAST PRODUCTS LLC, et                      COMPLIANCE AND CASE
      al.,                                                MANAGEMENT CONFERENCE
 7
                                     Defendants.
 8
 9
           An Early Neutral Evaluation and Case Management Conference will be held in the
10
     Chambers of Magistrate Judge Clinton E. Averitte1 on September 10, 2018, at 2:00 p.m.
11
     Notwithstanding the pendency of any motion, the parties must timely comply with the
12
     following dates, deadlines, and mandatory instructions:
13
           1.     Directions to Chambers: Judge Schopler’s Chambers are located at the
14
     Edward J. Schwartz U.S. Courthouse, 221 West Broadway, Suite 5160, San Diego,
15
     California 92101. Do not report to Courtroom 5C; report to Chambers. In order to gain
16
     access to Chambers, the parties should take the elevator to the 5th Floor, turn to face
17
     the wooden double doors (labeled “Authorized Personnel Only” and “5150”), and
18
     press the wall buzzer labeled “#15 JUDGE SCHOPLER.”
19
           2.     Notice of Specific Settlement Impediments: If either party identifies a
20
     specific impediment to meaningful settlement discussions—for instance, a need to
21
     investigate an accident site or take a specific individual’s deposition—it shall so inform
22
     the Court at the earliest possible opportunity, but no later than the deadline for the Joint
23
     Discovery Plan and ENE statement. The Court may then set a telephonic status conference
24
     to discuss the matter or take other action.
25
26
27
           1
              Magistrate Judge Averitte will be handeling Magistrate Judge Schopler’s cases in
28   light of Judge Schopler’s temporary unavailability.
                                                      1
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 1         3.     Mandatory Personal Appearances: All parties, adjusters for insured
 2   defendants, the principal attorneys, and any other party representatives with settlement
 3   authority must be present in person and prepared to discuss settlement. Counsel appearing
 4   without their clients (whether or not counsel has been given settlement authority) will be
 5   cause for imposition of sanctions. Government entities are excused from this requirement,
 6   so long as their attorney appears, has primary responsibility for the case, and the power to
 7   recommend a resolution to the ultimate settlement authority. Any principal attorneys who
 8   are not already listed on the docket as an “ATTORNEY TO BE NOTICED,” shall file their
 9   appearances as soon as possible. Counsel for any non-English-speaking parties are
10   responsible for supplying any interpreters.
11         4.     ENE Statements Required: By the below-listed date, the parties shall email
12   efile_schopler@casd.uscourts.gov with their ENE statements, which shall be no longer
13   than five pages. Each statement must outline the nature of the case, the claims, the defenses,
14   the parties’ settlement positions, and all ENE attendees for that side, including their names,
15   titles, and positions. The settlement position must include a specific and current demand or
16   offer addressing all relief or remedies sought. If a specific demand or offer cannot be made,
17   then the reasons for this must be set forth. If exhibits are attached and the total submission
18   amounts to more than 20 pages, a courtesy hard copy must also be delivered directly to
19   Chambers. At their discretion, the parties may choose to share their statements with
20   opposing counsel or to keep them confidential.
21         5.     Case Management: A Joint Discovery Plan must be filed on the CM/ECF
22   system as well as lodged with Judge Schopler by emailing the Plan to
23   efile_schopler@casd.uscourts.gov as set out below. If the Plan with its attachments
24   exceeds 20 pages, a courtesy paper copy must be delivered to Judge Schopler’s Chambers.
25   If the parties wish to modify the tentative discovery dates or limitations listed below
26   (confirmed dates are boldfaced; tentative dates are not), the Plan must set forth case-
27   specific good cause for the proposed modifications.
28

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 1                            CASE MANAGEMENT SCHEDULE
 2                            Event                             Deadline
 3              Rule 26(f) Conference                August 10, 2018
 4              Rule 26 Initial Disclosures          August 27, 2018
                Joint Discovery Plan                 September 3, 2018
 5
                ENE Statements                       September 3, 2018
 6
                ENE and CMC                          September 10, 2018, at 2:00
 7                                                   p.m.
 8              Motions to Amend                     November 9, 2018
 9              Expert Witness Designations February 15, 2019
                and Disclosures
10              Rebuttal Expert Witness      March 15, 2019
11              Designations and Disclosures
                Fact Discovery Completion    April 12, 2019
12
                Expert Discovery Completion          April 12, 2019
13
                MSC Statements                       April 19, 2019
14              Mandatory Settlement                 April 26, 2019, at 9:00 a.m.
15              Conference
                Pretrial Motions                     May 10, 2019
16
                Rule 26(a)(3) Disclosures            September 2, 2019
17
                Meet and Confer on the PTO           September 9, 2019
18
                Draft PTO to Defense Counsel         September 16, 2019
19              Lodge PTO                            September 23, 2019
20              Final Pretrial Conference    September 30, 2019, at 11:00
21                                           a.m.
                                  DISCOVERY LIMITATIONS
22
                Discovery Type                       Restriction (Per Party)
23
                Depositions                          No more than 10
24              Requests for Admission               No more than 25
25              Interrogatories                      No more than 25
26              Requests to Produce Documents No more than 25
27         6.    Magistrate Judge Consent Forms: If all parties consent to the Magistrate
28   Judge exercising jurisdiction to conduct all proceedings, including trial, each party must

                                                 3
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 1   provide plaintiff’s counsel with an executed copy of the attached consent form. Plaintiff
 2   should file these consent forms in paper format at the Clerk’s Office as soon as possible.
 3   See Local Civil Rule 73.1. The consent forms should not be filed with the court
 4   electronically. The parties are free to withhold consent without adverse consequences. In
 5   fact, unless all parties consent to the Magistrate Judge’s jurisdiction, no judicial officer will
 6   be informed about the consent forms or their contents. Questions related to the consent
 7   forms should be directed only to the Clerk’s Office at (619) 557-5600. Please do not call
 8   Chambers’ staff with questions on this issue.
 9         7.      Notice to New Parties: If any parties respond to the complaint after today’s
10   date, plaintiff’s counsel must promptly notify them about the ENE and this Order.
11         8.      Pre-ENE Settlement: If the parties resolve the matter, they must telephone
12   Judge Averitte’s Chambers as soon as possible. In order for the ENE to be vacated and
13   personal appearances excused, the parties must:
14              a. File a Joint Motion to Dismiss and separately email the assigned District Judge
15                 a proposed order; or
16              b. File a Settlement Notice containing the electronic signatures of counsel for all
17                 settling parties; or
18              c. Obtain Court approval to vacate the ENE and avoid personal appearances, by
19                 explaining in the telephone call to Judge Averitte’s Chambers the
20                 extraordinary circumstances that prevent the parties from complying with
21                 options a or b, above.
22   IT IT SO ORDERED.
23   Dated: July 18, 2018
24
25
26
27
28

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                               UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF CALIFORNIA



 PERSIAN GULF INC.,                                         Case No.: 15-cv-1749-L-AGS
                                        Plaintiff(s)
                                                            NOTICE, CONSENT, AND
 v.                                                         REFERENCE OF A CIVIL ACTION TO
                                                            A MAGISTRATE JUDGE
 BP WEST COAST PRODUCTS LLC, et al.,
                         Defendant(s)




Notice of a magistrate judge's availability. A United States magistrate judge of this court is available
to conduct all proceedings in this civil action (including a jury or nonjury trial) and to order the entry
of a final judgment. The judgment may then be appealed directly to the United States court of appeals
like any other judgment of this court. A magistrate judge may exercise this authority only if all parties
voluntarily consent.

You may consent to have your case referred to a magistrate judge, or you may withhold your consent
without adverse substantive consequences. The name of any party withholding consent will not be
revealed to any judge who may otherwise be involved with your case.

Consent to a magistrate judge's authority. The following parties ☐ Consent / ☐ Do Not Consent*

to have a United States magistrate judge conduct all proceedings in this case including trial, the entry
of final judgment, and all post-trial proceedings.
             Printed Names                 Signatures of all parties and counsel for all parties   Dates




                                          REFERENCE ORDER
IT IS ORDERED: This case is referred to United States Magistrate Judge Andrew G. Schopler, to
conduct all proceedings and order entry of a final judgment in accordance with 28 U.S.C. § 636(c),
Fed. R. Civ. P. 73, and CivLR 73.1.


 Date                                             United States District Judge


* Pursuant to Civil Local Rule 73.1, if (and only if) all parties have consented to the
reference to a magistrate judge, then Plaintiff shall file the consent form(s) in paper format
at the Clerk’s Office.
